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                                                                                            Los Angeles, California 90071-1406
                                                                                          5 Telephone: 213.626.2311
                                                                                            Facsimile: 213.629.4520
                                                                                          6
                                                                                            [Proposed] Attorneys for Plaintiff
                                                                                          7 Elissa D. Miller, Chapter 7 Trustee

                                                                                          8                                   UNITED STATES BANKRUPTCY COURT
                                                                                          9                    CENTRAL DISTRICT OF CALIFORNIA, LOS ANGELES DIVISION
                                                                                         10 In re                                               Case No. 2:16-bk-12889-SK
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                                                                                         11 LONNIE TODD MOORE,                                  Chapter 7
                                                  LOS ANGELES, CALIFORNIA 90071-1406
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                                                                                         12                      Debtor.

                                                                                         13                                                     Adv. No. _______________________
                                                                                              ELISSA D. MILLER, Chapter 7 Trustee,
                                                                                         14                                                     COMPLAINT FOR:
                                                                                                                 Plaintiff,
                                                                                         15                                                     (1) AVOIDANCE OF FRAUDULENT
                                                                                                        vs.                                     TRANSFERS;
                                                                                         16
                                                                                            LONNIE TODD MOORE, individually and in              (2) RECOVERY OF TRANSFERRED
                                                                                         17 various capacities in connection with the 914       PROPERTY OR VALUE THEREOF;
                                                                                            Trust dated March 26, 2008; COOK
                                                                                         18 ISLANDS TRUST LIMITED, a foreign                    (3) PRESERVATION OF AVOIDED
                                                                                            corporation domiciled in Cook Islands, as           TRANSFERS;
                                                                                         19 trustee of the 914 Trust Dated March 26, 2008;
                                                                                            ANTONY WILL, as trustee of the Cook                 (4) TURNOVER OF PROPERTY;
                                                                                         20 Islands Trust Limited,
                                                                                                                                                (5) DECLARATORY RELIEF; AND
                                                                                         21                      Defendants.
                                                                                                                                                (6) AN ACCOUNTING
                                                                                         22
                                                                                                                                                Date: [To be set by summons]
                                                                                         23                                                     Time: [To be set by summons]
                                                                                                                                                Place: Courtroom 1575
                                                                                         24                                                            255 E. Temple Street
                                                                                                                                                       Los Angeles, CA 90012
                                                                                         25

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                                                                                          1            For her “Complaint for: (1) Avoidance of Fraudulent Transfers; (2) Recovery of Property

                                                                                          2 or Value Thereof; (3) Preservation of Avoided Transfers; (4) Turnover of Property; (5)

                                                                                          3 Declaratory Relief; and (6) an Accounting” (the “Complaint”), plaintiff Elissa D. Miller

                                                                                          4 (“Plaintiff”), the duly appointed, qualified, and acting chapter 7 trustee for the estate of Lonnie

                                                                                          5 Todd Moore, the above-captioned debtor (the “Debtor”), hereby alleges as follows:

                                                                                          6         STATEMENT OF JURISDICTION, NATURE OF PROCEEDING, AND VENUE
                                                                                          7            1.      This Court has jurisdiction over this action pursuant to 28 U.S.C. §§ 157(b)(1) and

                                                                                          8 1334(a). This action is a core proceeding under 28 U.S.C. § 157(b)(2)(A), (E), (H), and (O). This

                                                                                          9 action is a proceeding arising in and/or related to the bankruptcy case of In re Lonnie Todd

                                                                                         10 Moore, Bk. Case No. 2:16-bk-12889-SK (the “Bankruptcy Case”), which is a case under chapter
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                                                                                         11 7 of title 11 of the United States Code, 11 U.S.C. § 101 et seq., (the “Bankruptcy Code”), and
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                                                                                         12 which is pending in the United States Bankruptcy Court for the Central District of California, Los

                                                                                         13 Angeles Division (the “Bankruptcy Court” or “Court”). Regardless of whether this proceeding is

                                                                                         14 core, non-core, or otherwise, Plaintiff consents to the entry of a final order and judgment by the

                                                                                         15 Bankruptcy Court.

                                                                                         16            2.      Venue properly lies in this judicial district pursuant to 28 U.S.C. § 1409(a).

                                                                                         17                                                  PARTIES
                                                                                         18            3.      Plaintiff is the duly appointed, qualified, and acting chapter 7 trustee of the
                                                                                         19 Debtor’s bankruptcy estate (the “Estate”). Plaintiff brings this action solely in her capacity as the

                                                                                         20 chapter 7 trustee.

                                                                                         21            4.      Plaintiff was appointed after the filing of the Bankruptcy Case. As a result,

                                                                                         22 Plaintiff may not have personal knowledge of certain facts alleged in this Complaint that occurred

                                                                                         23 prior to her appointment and, to the extent that is the case, Plaintiff alleges all such facts on

                                                                                         24 information and belief. To the extent Plaintiff may not have personal knowledge of any other

                                                                                         25 facts alleged herein, whether relating to acts and events before or after her appointment, all such

                                                                                         26 facts are alleged on information and belief. Plaintiff reserves the right to amend this Complaint to

                                                                                         27 allege additional claims against one or more of the above-captioned defendants, to challenge,

                                                                                         28 avoid, and/or recover transfers other than and in addition to those alleged in this Complaint, to


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                                                                                          1 name additional defendants, and to otherwise amend this Complaint.

                                                                                          2            5.      Plaintiff is informed and believes, and based thereon alleges, that defendant Lonnie

                                                                                          3 Todd Moore, the Debtor, is an individual residing in the State of California, in the County of Los

                                                                                          4 Angeles, in this judicial district. Plaintiff is further informed and believes, and based thereon

                                                                                          5 alleges, at all relevant times, the Debtor is and was a beneficiary and the protector and settlor of

                                                                                          6 the Trust (defined below).

                                                                                          7            6.      Plaintiff is informed and believes, and based thereon alleges, that defendant Cook

                                                                                          8 Islands Trust Limited (“CITL”) is a foreign corporation organized and existing under the laws of

                                                                                          9 the Cook Islands, with its principal place of business in the Rarotonga, Cook Islands. Plaintiff is

                                                                                         10 further informed and believes, and based thereon alleges, that at all relevant times, CITL is and
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                                                                                         11 was a trustee of the Trust.
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                                                                                         12            7.      Plaintiff is informed and believes, and based thereon alleges, that defendant

                                                                                         13 Antony Will (“Will”) is an individual domiciled in the Cook Islands. Plaintiff is further informed

                                                                                         14 and believes, and based thereon alleges, that at all relevant times, Will is and was the trustee of

                                                                                         15 CITL.

                                                                                         16                    ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF
                                                                                         17            8.      Plaintiff is informed and believes, and based thereon alleges, that in or around

                                                                                         18 March 2008, the Debtor owned a fee simple interest in real property located at 7995 Briar Summit
                                                                                         19 Drive, Los Angeles, California (the “Property”), upon which sits a single family residence.

                                                                                         20            9.      Plaintiff is informed and believes, and based thereon alleges, that, at all relevant

                                                                                         21 times, the Debtor leased and/or continues to lease the Property to Mark David Lewis and/or

                                                                                         22 Yvonne Marie Lewis (the “Lease”) and has collected and/or continues to collect no less than

                                                                                         23 $14,000 per month in rental income (the “Rental Income”).

                                                                                         24            10.     Plaintiff is informed and believes, and based thereon alleges, that on or about

                                                                                         25 March 26, 2008, pursuant to the “914 Trust Settlement of Trust” (the “Trust Agreement”), the

                                                                                         26 Debtor established the 914 Trust (the “Trust”), an offshore, self-settled trust, under the laws of the

                                                                                         27 Cook Islands, naming himself as the protector (“Protector”) and settlor (“Settlor”) of the Trust.

                                                                                         28 Plaintiff is further informed and believes, and based thereon alleges, that, at all relevant times, the


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                                                                                          1 Debtor served and continues to serve in the capacities of Protector and Settlor of the Trust. A true

                                                                                          2 and correct copy of the Trust Agreement is appended hereto as Exhibit “1”.

                                                                                          3            11.     The Trust Agreement identified the Debtor as one of the beneficiaries of the Trust.

                                                                                          4            12.     Plaintiff is informed and believes, and based thereon alleges, that the Debtor

                                                                                          5 named James MacDonald (“MacDonald”) and CITL as the initial co-trustees of the Trust (the

                                                                                          6 “914 Trustees”).

                                                                                          7            13.     Article III, Section A, of the Trust Agreement provides: “The first Protector shall

                                                                                          8 be the Settlor, who shall serve in such capacity until the earlier of such person’s death, legal

                                                                                          9 disability, or resignation.”

                                                                                         10            14.     The Trust Agreement includes multiple provisions to ensure the Debtor always
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                                                                                         11 retained full and complete control over the Trust, the Property, and all assets placed into the Trust
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                                                                                         12 (collectively, the “Debtor Control Provisions”), and that, as a result of such provisions, at all

                                                                                         13 relevant times, the Debtor retained full and complete control over the Trust, the Property, and all

                                                                                         14 assets placed into the Trust notwithstanding any actions that purport to indicate to the contrary.

                                                                                         15 The Debtor Control Provisions include, but are not necessarily limited to, the following (in no

                                                                                         16 particular order):

                                                                                         17                    a.     The “Proposition 13 Provision”

                                                                                         18                           Proposition 13 Property. Notwithstanding anything to the
                                                                                                                      contrary in this Settlement, if the Settlor transfers to the
                                                                                         19                           Trust any real property located in the State of California …
                                                                                                                      then after such transfer, the Settlor shall retain the same
                                                                                         20
                                                                                                                      proportional beneficial interest in and to said Proposition 13
                                                                                         21                           Property that the Settlor had immediately prior to such
                                                                                                                      transfer. During the Settlor’s lifetime, distributions of
                                                                                         22                           income and/or capital by the Trust from such Proposition 13
                                                                                                                      Property may be made only to the Settlor, and the Trustees
                                                                                         23                           are prohibited from distributing, directly or indirectly, any
                                                                                                                      income and/or capital from Proposition 13 Property to any
                                                                                         24
                                                                                                                      other beneficiary. Further, during the Settlor’s lifetime, no
                                                                                         25                           beneficiary other than the Settlor shall receive from the
                                                                                                                      Trust any benefits of any kind or nature, either directly or
                                                                                         26                           indirectly, from such Proposition 13 Property, including the
                                                                                                                      equity therefrom, while the Proposition 13 Property is still
                                                                                         27                           an asset of the Trust unless such benefit is entirely incidental
                                                                                         28                           to the Settlor’s benefiting from such property …



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                                                                                          1                           The provisions of this Trust shall be construed and the trusts
                                                                                                                      created hereunder shall be administered solely in accordance
                                                                                          2                           with said intention and in a manner consistent with the
                                                                                                                      Proposition 13 Exceptions. Should the provisions of this
                                                                                          3
                                                                                                                      Trust become inconsistent with the Proposition 13
                                                                                          4                           Exceptions, then such inconsistent provisions shall be
                                                                                                                      construed in a manner that complies with the Proposition 13
                                                                                          5                           Exceptions, and for that purpose and to such extent, the
                                                                                                                      Proposition 13 Exceptions shall be deemed to override and
                                                                                          6                           supersede such provisions.
                                                                                          7 Exhibit 1, Article III, pp 6-7.

                                                                                          8                    b.     The “Power of Attorney Provision”

                                                                                          9                           Power of Attorney. Each Trustee hereby irrevocably grants
                                                                                                                      the Protector its power of attorney, for the purpose of
                                                                                         10                           executing any document transferring title of any asset
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                                                                                                                      belonging to the Trust Fund from him to the new Trustee, on
                                                                                         11
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                                                                                                                      his resignation or removal as a Trustee. Such power may be
                                                                                         12                           exercised by the Protector without notice to the Trustee
                                                                                                                      provided that this power of this ARTICLE IV shall not be
                                                                                         13                           exercised unless a release and indemnity has been
                                                                                                                      completed in accordance with Paragraph M. of this
                                                                                         14                           ARTICLE IV.
                                                                                         15
                                                                                              Exhibit 1, Article IV, Section E.
                                                                                         16
                                                                                                               c.     The “Veto Provision”
                                                                                         17
                                                                                                               Veto Power of Protector. Notwithstanding anything to the contrary
                                                                                         18                    herein contained, and in particular anything conferring absolute or
                                                                                                               uncontrolled discretion on the Trustees hereof, all and every power
                                                                                         19                    and discretion vested in the Trustees by such provisions of this
                                                                                                               Settlement as are specified in Schedule VIII attached hereto and
                                                                                         20                    incorporated herein by this reference shall only be exercisable by
                                                                                                               them subject always to the power of the Protector to veto any
                                                                                         21                    exercise by the Trustees of such power or discretion, and
                                                                                                               accordingly the Trustees shall be required to provide the Protector
                                                                                         22                    with reasonable prior notice before any such powers or discretions
                                                                                                               may be exercised so as to allow the Protector reasonable advance
                                                                                         23                    opportunity within which to veto or refrain from vetoing the
                                                                                                               exercise of the power or discretion.
                                                                                         24

                                                                                         25 Exhibit 1, Article VII, Section D.

                                                                                         26                    d.     The “Fraudulent Transfer Provision”

                                                                                         27                    Provision for Certain Obligations.

                                                                                         28                    1. The Settlor wishes to protect against any transfer of money or
                                                                                                               property by any contributor to the Trust from being a fraudulent

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                                                                                          1                    transfer to the detriment of a creditor of the Settlor …
                                                                                                               notwithstanding any provision of the Applicable Law … to the
                                                                                          2                    contrary … the Trustees are direct to pay out of the Transfers or any
                                                                                                               accretions or additions thereto, or substitutions thereof or proceeds
                                                                                          3                    therefrom … any amounts … (i) that are ultimately and finally
                                                                                                               judicially determined to be properly due and owing such a claimant
                                                                                          4                    by the contributor and that are not ultimately satisfied; or (ii) with
                                                                                                               respect to which the contributor of the respectively contributed
                                                                                          5                    property has voluntarily and not under duress agreed to the payment
                                                                                                               or settlement thereof …
                                                                                          6

                                                                                          7 Exhibit 1, Article X, Section J.

                                                                                          8            15.     Plaintiff is informed and believes, and based thereon alleges, that the Debtor

                                                                                          9 specifically included the Debtor Control Provisions in his attempt to maintain absolute control

                                                                                         10 over the Trust, the Property, and other assets placed into the Trust despite the role of the 914
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                                                                                         11 Trustees and any removal of the Debtor as a beneficiary under the Trust.
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                                                                                         12            16.     Plaintiff is informed and believes, and based thereon alleges, that on or about May

                                                                                         13 21, 2008, the Debtor transferred title to the Property to MacDonald and CITL, in their capacities

                                                                                         14 as co-trustees of the Trust, for no consideration, pursuant to a grant deed (the “2008 Grant

                                                                                         15 Deed”), duly recorded in the Los Angeles County Recorder’s Office on or about June 10, 2008

                                                                                         16 (the “2008 Transfer”). A true and correct copy of the 2008 Grant Deed is appended hereto as

                                                                                         17 Exhibit “2”.

                                                                                         18            17.     Plaintiff is informed and believes, and based thereon alleges, that, notwithstanding

                                                                                         19 the 2008 Transfer, the Debtor retained full and complete control over the Property, including, but

                                                                                         20 not limited to, its use, disposition, and proceeds generated therefrom, as a result of the Debtor

                                                                                         21 Control Provisions of the Trust Agreement .

                                                                                         22            18.     Plaintiff is informed and believes, and based thereon alleges, that following a

                                                                                         23 dispute between the Debtor and MacDonald, on or about April 18, 2012, the Debtor, acting

                                                                                         24 pursuant to the Power of Attorney Provision, executed a quitclaim deed (the “2012 Quitclaim

                                                                                         25 Deed”) transferring the interest in the Property MacDonald held solely in his capacity as co-

                                                                                         26 trustee of the Trust to CITL, as sole trustee for the benefit of the Trust (the “2012 Transfer”). The

                                                                                         27 2012 Quitclaim Deed was subsequently recorded on or about June 7, 2012. A true and correct

                                                                                         28 copy of the 2012 Quitclaim Deed is appended hereto as Exhibit “3”. As a result, Plaintiff is


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                                                                                          1 informed and believes, and based thereon alleges, that MacDonald claims no further interest in

                                                                                          2 the Property in any capacity.

                                                                                          3            19.     Plaintiff is informed and believes, and based thereon alleges, that in addition to the

                                                                                          4 Property, the Trust has other assets (the “Other Trust Assets”), which the Debtor transferred to the

                                                                                          5 Trust at various points within the applicable reachback periods (the “Other Trust Transfers”).

                                                                                          6 Plaintiff currently lacks information regarding the identity of the Other Trust Assets and the

                                                                                          7 timing of the Other Trust Transfers. Plaintiff will amend this Complaint as is necessary and

                                                                                          8 appropriate following receipt of further information regarding the Other Trust Assets and Other

                                                                                          9 Trust Transfers to include further allegations regarding such matters and to add additional claims

                                                                                         10 for relief to avoid and recover the Other Trust Transfers, or to otherwise seek appropriate relief
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                                                                                         11 based on the Other Trust Transfers.
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                                                                                         12            20.     On March 7, 2016 (the “Petition Date”), the Debtor filed a voluntary petition for

                                                                                         13 relief under chapter 13 of the Bankruptcy Code, commencing the Bankruptcy Case.

                                                                                         14            21.     On March 21, 2016, the Debtor filed his bankruptcy schedules in the Bankruptcy

                                                                                         15 Case (the “Bankruptcy Schedules”) and Statement of Financial Affairs (the “SOFA”). Plaintiff is

                                                                                         16 informed and believes, and based thereon alleges, that the Debtor executed the Bankruptcy

                                                                                         17 Schedules and the SOFA under penalty of perjury.

                                                                                         18            22.     The Bankruptcy Schedules identify debts in the sum of $3,488,242.37 and assets in
                                                                                         19 the sum of only $75,910. Plaintiff is informed and believes, and based thereon alleges, that the

                                                                                         20 Debtor incurred substantial debt before the 2008 Transfer.

                                                                                         21            23.     The Debtor did not identify his interest in the Property, the Lease, the Rental

                                                                                         22 Income, the Trust, the 2008 Transfer, the 2012 Transfer, or any of the Other Trust Assets in the

                                                                                         23 Bankruptcy Schedules or SOFA.

                                                                                         24            24.     On April 14, 2016, the Debtor filed a notice of conversion, pursuant to which the

                                                                                         25 Bankruptcy Case was converted from a case under chapter 13 to a case under chapter 7.

                                                                                         26            25.     Shortly thereafter, Plaintiff was appointed as the chapter 7 trustee and continues to

                                                                                         27 serve in that capacity.

                                                                                         28


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                                                                                          1                                       FIRST CLAIM FOR RELIEF
                                                                                          2                         (For Avoidance Of 2008 Transfer Under 11 U.S.C. § 548(e))
                                                                                          3            26.     Plaintiff realleges and incorporates herein by reference each and every allegation

                                                                                          4 contained in paragraphs 1 through 25 as though set forth in full.

                                                                                          5            27.     Plaintiff is informed and believes, and based thereon alleges, that the 2008

                                                                                          6 Transfer was a transfer of an interest of the Debtor in property that was made within 10 years

                                                                                          7 before the Petition Date.

                                                                                          8            28.     Plaintiff is informed and believes, and based thereon alleges, that the Trust is a

                                                                                          9 self-settled trust.

                                                                                         10            29.     Plaintiff is informed and believes, and based thereon alleges, that at all relevant
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                                                                                         11 times the Debtor is and was a beneficiary under the Trust.
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                                                                                         12            30.     Plaintiff is informed and believes, and based thereon alleges, that pursuant to the

                                                                                         13 Proposition 13 Provision, the Debtor cannot be removed as a beneficiary under the Trust

                                                                                         14 especially, but not necessarily limited to, in respect of the Property.

                                                                                         15            31.     Plaintiff is informed and believes, and based thereon alleges, that the Debtor made

                                                                                         16 the 2008 Transfer with the actual intent to hinder, delay, or defraud his creditors, both then

                                                                                         17 existing and future creditors in that, among other things:

                                                                                         18                    a.       the 2008 Transfer was made to one or more insiders;

                                                                                         19                    b.       shortly before the 2008 Transfer, on or about December 13, 2007, the

                                                                                         20 Debtor was named as a defendant in a civil action, bearing the caption Skye-Anne Smith v. Lonnie

                                                                                         21 Todd Moore et al, Case No. BC382327 in the Superior Court of the State of California, County of

                                                                                         22 Los Angeles;

                                                                                         23                    c.       before or about the time of the 2008 Transfer, the Debtor was threatened

                                                                                         24 with suit or knew that he would be sued by, among others, an investor in Dolce Group Atlanta,

                                                                                         25 LLC, in which the Debtor was a member, for the return of the investor’s $1,000,000 investment;

                                                                                         26                    d.       at or around the time of the 2008 Transfer, the Debtor held significant

                                                                                         27 equity in the Property and collected the Rental Income;

                                                                                         28                    e.       the 2008 Transfer effectuated a transfer of substantially all of the Debtor’s


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                                                                                          1 assets in that, among other things, the assets with which the Debtor was left with following the

                                                                                          2 2008 Transfer had little to no value or had values far less than the values of the Property

                                                                                          3 transferred through the 2008 Transfer;

                                                                                          4                    f.       the Debtor did not receive any consideration in exchange for the 2008

                                                                                          5 Transfer;

                                                                                          6                    g.       through the 2008 Transfer, the Debtor attempted to place the Property

                                                                                          7 beyond the reach of the Debtor’s creditors and outside the jurisdiction of United States;

                                                                                          8                    h.       as a result of the Debtor Control Provisions, after the 2008 Transfer, the

                                                                                          9 Debtor retained full and complete control over the Property, its use and disposition, and related

                                                                                         10 Rental Income, and retained complete veto power over any and all actions of the 914 Trustees;
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                                                                                         11                    i.       the Debtor intentionally concealed the Property, Rental Income, and 2008
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                                                                                         12 Transfer by failing to list them in his Bankruptcy Schedules or SOFA;

                                                                                         13                    j.       the Debtor was insolvent at the time of the 2008 Transfer or became

                                                                                         14 insolvent as a result of, or shortly after, the 2008 Transfer;

                                                                                         15                    k.       the 2008 Transfer occurred after or shortly before the Debtor incurred

                                                                                         16 substantial debt;

                                                                                         17                    l.       the Debtor is not using the Trust res to pay his creditors in contradiction of

                                                                                         18 the explicit provisions of the Trust Agreement, including, but not necessarily limited to, the
                                                                                         19 Fraudulent Transfer Provision;

                                                                                         20            32.     Interest on the 2008 Transfer, or the value of the 2008 Transfer, has accrued and

                                                                                         21 continues to accrue, and/or the value of the Property has increased, and continues to increase,

                                                                                         22 from the date of the 2008 Transfer.

                                                                                         23            33.     Plaintiff is entitled to an order and/or judgment that the 2008 Transfer is avoided

                                                                                         24 and/or providing any other remedy available under applicable law.

                                                                                         25                                      SECOND CLAIM FOR RELIEF
                                                                                         26                         (For Recovery Of Avoided Transfer Under 11 U.S.C. § 550)
                                                                                         27            34.     Plaintiff realleges and incorporates herein by reference each and every allegation

                                                                                         28 contained in paragraphs 1 through 33 as though set forth in full.


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                                                                                          1            35.     Plaintiff is informed and believes, and based thereon alleges, that the 2008

                                                                                          2 Transfer is a transfer that should be avoided pursuant to § 548(e) of the Bankruptcy Code as

                                                                                          3 alleged in this Complaint and, based thereon, Plaintiff is entitled to avoid the 2008 Transfer.

                                                                                          4            36.     Plaintiff is informed and believes, and based thereon alleges, that CITL (as trustee

                                                                                          5 of the Trust) and/or Will (as trustee of CITL) are transferees (initial, immediate, mediate, or

                                                                                          6 otherwise) of the 2008 Transfer within the meaning of 11 U.S.C. § 550(a).

                                                                                          7            37.     Plaintiff is entitled to an order and/or judgment for the recovery of the Property, or

                                                                                          8 the value thereof, including any increase in the value of the Property since the time of the

                                                                                          9 Transfer, together with interest at the applicable rate from the date of the 2008 Transfer, for the

                                                                                         10 benefit of the Estate.
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                                                                                         11                                      THIRD CLAIM FOR RELIEF
                                                  LOS ANGELES, CALIFORNIA 90071-1406
                                                   TEL 213.626.2311 • FAX 213.629.4520




                                                                                         12                    (For Preservation Of Transfers Avoided Under 11 U.S.C. § 551)
                                                                                         13            38.     Plaintiff realleges and incorporates herein by reference each and every allegation

                                                                                         14 contained in paragraphs 1 through 37 as though set forth in full.

                                                                                         15            39.     Plaintiff is entitled to an order and/or judgment preserving, for the benefit of the

                                                                                         16 Estate, the 2008 Transfer once avoided.

                                                                                         17                                     FOURTH CLAIM FOR RELIEF
                                                                                         18                         (For Turnover Of Property Under 11 U.S.C. § 542(a))
                                                                                         19            40.     Plaintiff realleges and incorporates herein by reference each and every allegation

                                                                                         20 contained in paragraphs 1 through 39 as though set forth in full.

                                                                                         21            41.     Plaintiff is informed and believes, and based thereon alleges, that the Property is

                                                                                         22 property of the Estate.

                                                                                         23            42.     Plaintiff is informed and believes, and based thereon alleges, that the Property is

                                                                                         24 property that Plaintiff may use, sell, or lease under 11 U.S.C. § 363, and that such property is not

                                                                                         25 of inconsequential value or benefit to the Estate.

                                                                                         26            43.     Plaintiff is informed and believes, and based thereon alleges, that the Debtor, the

                                                                                         27 Trust, CITL, and/or Will are entities, other than a custodian, in possession, custody, or control,

                                                                                         28 during this bankruptcy case, of the Property.


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                                                                                          1            44.     Plaintiff is entitled to an order and/or judgment for the turnover of the Property, or

                                                                                          2 the value thereof, or such other amounts due and owing and subject to recovery, together with

                                                                                          3 interest at the applicable rate.

                                                                                          4                                      FIFTH CLAIM FOR RELIEF
                                                                                          5                         (For Turnover Of Property Under 11 U.S.C. § 542(a))
                                                                                          6            45.     Plaintiff realleges and incorporates herein by reference each and every allegation

                                                                                          7 contained in paragraphs 1 through 44 as though set forth in full.

                                                                                          8            46.     Plaintiff is informed and believes, and based thereon alleges, that the Rental

                                                                                          9 Income is property of the Estate.

                                                                                         10            47.     Plaintiff is informed and believes, and based thereon alleges, that the Rental
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                                                                                         11 Income is property that Plaintiff may use, sell, or lease under 11 U.S.C. § 363, and that such
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                                                                                         12 property is not of inconsequential value or benefit to the Estate.

                                                                                         13            48.     Plaintiff is informed and believes, and based thereon alleges, that Debtor, the

                                                                                         14 Trust, CITL, and/or Will is an entity, other than a custodian, in possession, custody, or control,

                                                                                         15 during this bankruptcy case, of the Rental Income.

                                                                                         16            49.     Plaintiff is entitled to an order and/or judgment for the turnover of the Rental

                                                                                         17 Income together with interest at the applicable rate.

                                                                                         18                                      SIXTH CLAIM FOR RELIEF
                                                                                         19                                          (For Declaratory Relief)
                                                                                         20            50.     Plaintiff realleges and incorporates herein by reference each and every allegation

                                                                                         21 contained in paragraphs 1 through 49 as though set forth in full.

                                                                                         22            51.     Plaintiff is informed and believes, and based thereon alleges, that an actual

                                                                                         23 controversy exists between Plaintiff, on the one hand, and one or more of the Debtor, CITL, and

                                                                                         24 Will (collectively, the “Disputants”), on the other hand, relating to the effect and enforceability of

                                                                                         25 the 2008 Transfer, the 2012 Transfer, and/or the Other Trust Transfers (collectively, the “Trust

                                                                                         26 Transfers”).

                                                                                         27            52.     Plaintiff contends that the Trust Transfers, and each of them, were shams, designed

                                                                                         28 to place assets outside the reach of the Debtor’s creditors and/or in furtherance of a scheme to


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                                                                                          1 defraud the Debtor’s creditors.

                                                                                          2            53.     Plaintiff further contends that, despite the Trust Transfers, the Property, the Rental

                                                                                          3 Income, and the Other Trust Assets are property of the Estate. In the alternative, Plaintiff

                                                                                          4 contends that, upon avoidance of the Trust Transfers and/or recovery of the property subject to

                                                                                          5 the Trust Transfers, the Property, the Rental Income, and the Other Trust Assets are property of

                                                                                          6 the Estate.

                                                                                          7            54.     Plaintiff further contends that the Property, the Rental Income, and Other Trust

                                                                                          8 Assets should be treated in ownership, status, and character as if none of the Trust Transfers

                                                                                          9 occurred.

                                                                                         10            55.     Plaintiff further contends that, by virtue of the Debtor’s unrestricted control over
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                                                                                         11 the Trust, and ability to use the Trust assets for his sole benefit, the Property, the Rental Income,
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                                                                                         12 the Other Trust Assets, even if not expressly identified in this Complaint, is property of the Estate

                                                                                         13 as that term is defined in section 541 of the Bankruptcy Code. In the alternative, Plaintiff

                                                                                         14 contends that the spendthrift provisions in the Trust Agreement, restricting the Debtor’s beneficial

                                                                                         15 interest in the Trust, are invalid and unenforceable against transferees or creditors of the Debtor,

                                                                                         16 which includes Plaintiff pursuant to section 544 of the Bankruptcy Code.

                                                                                         17            56.     Plaintiff is informed and believes, and based thereon alleges, that the Disputants,

                                                                                         18 and each of them, dispute each of Plaintiff’s contentions in paragraphs 54 through 57 above,
                                                                                         19 inclusive.

                                                                                         20            57.     As a result of the foregoing controversies and disputes, a judicial declaration of

                                                                                         21 one or more of the following is necessary and appropriate: (a) that the Trust Transfers, and each

                                                                                         22 of them, were shams, designed, entered, and/or executed with the intent of placing the Property,

                                                                                         23 the Rental Income, and the Other Trust Assets outside the reach of the Debtor’s creditors and/or

                                                                                         24 in furtherance of a scheme to defraud the Debtor’s creditors; (b) that, despite the Trust Transfers,

                                                                                         25 the Property, the Rental Income, and the Other Trust Assets are property of the Estate; (c) that

                                                                                         26 upon avoidance of the Trust Transfers and/or recovery of the property subject to the Trust

                                                                                         27 Transfers, including the Property, the Rental Income, and the Other Trust Assets, are property of

                                                                                         28 the Estate; (d) that the Property, the Rental Income, and the Other Trust Assets should be treated


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                                                                                          1 in ownership, status, and character as if none of the Trust Transfers occurred (e) that, by virtue of

                                                                                          2 the Debtor’s unrestricted control over the Trust, and ability to use the Trust assets for his sole

                                                                                          3 benefit, the Property, the Rental Income, and the Other Trust Assets, are property of the Estate, as

                                                                                          4 that term is defined in section 541 of the Bankruptcy Code; and/or (f) that the spendthrift

                                                                                          5 provisions in the Trust Agreement, restricting the Debtor’s beneficial interest in the Trust, are

                                                                                          6 invalid and unenforceable against transferees or creditors of the Debtor, which includes Plaintiff

                                                                                          7 pursuant to section 544 of the Bankruptcy Code.

                                                                                          8                                    SEVENTH CLAIM FOR RELIEF
                                                                                          9                                           (For An Accounting)
                                                                                         10            58.     Plaintiff realleges and incorporates herein by reference each and every allegation
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                                                                                         11 contained in paragraphs 1 through 57 as though set forth in full.
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                                                                                         12            59.     Plaintiff is informed and believes, and based thereon alleges, that the Debtor has

                                                                                         13 failed and continues to fail to turn over the undisclosed Rental Income.

                                                                                         14            60.     The information necessary for Plaintiff to determine the exact amount of monies

                                                                                         15 owing to Plaintiff by the Debtor from the collection of undisclosed Rental Income is in the

                                                                                         16 exclusive possession, custody, or control of the Debtor.

                                                                                         17            61.     During the respective post-petition time periods in which the Property has been

                                                                                         18 leased, the Debtor failed to provide the Plaintiff with an accounting such that the Plaintiff could
                                                                                         19 determine the extent of the funds due and owing to the Plaintiff by the Debtor from the collection

                                                                                         20 of undisclosed Rental Income.

                                                                                         21            62.     Prior to the filing of this Complaint, Plaintiff has made demands on the Debtor for

                                                                                         22 such accounting. By this Complaint, Plaintiff further demands such accounting. Despite

                                                                                         23 Plaintiffs demands, the Debtor has failed and refused, and continues to fail and refuse, to tender

                                                                                         24 such accounting to the Plaintiff.

                                                                                         25            WHEREFORE, Plaintiff respectfully prays for judgment against Debtor/Defendant(s) as
                                                                                         26 follows:

                                                                                         27            ON THE FIRST CLAIM FOR RELIEF:
                                                                                         28            1.      That the 2008 Transfer is avoided and/or providing any other remedy available


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                                                                                          1 under applicable law;

                                                                                          2            ON THE SECOND CLAIM FOR RELIEF:
                                                                                          3            2.      For the recovery of the Property, or the value thereof, including any increase in the

                                                                                          4 value of the Property since the date of the 2008 Transfer, with interest at the applicable rate from

                                                                                          5 the date of the Transfer, for the benefit of the Estate;

                                                                                          6            ON THE THIRD CLAIM FOR RELIEF:
                                                                                          7            3.      Preserving, for the benefit of the estate, the 2008 Transfer once avoided;

                                                                                          8            ON THE FOURTH CLAIM FOR RELIEF:
                                                                                          9            4.      For the turnover of the Property, or the values thereof, or such other amounts due

                                                                                         10 and owing and subject to recovery, together with interest at the applicable rate;
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                                                                                         11            ON THE FIFTH CLAIM FOR RELIEF:
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                                                                                         12            5.      For the turnover of the Rental Income, and subject to recovery, together with

                                                                                         13 interest at the applicable rate;

                                                                                         14            ON THE SIXTH CLAIM FOR RELIEF:
                                                                                         15            6.      For a judicial declaration of, one or more of the following: (a) that the Trust

                                                                                         16 Transfers, and each of them, were shams, designed, entered, and/or executed with the intent of

                                                                                         17 placing the Property, the Rental Income, and the Other Trust Assets outside the reach of the

                                                                                         18 Debtor’s creditors and/or in furtherance of a scheme to defraud the Debtor’s creditors; (b) that,
                                                                                         19 despite the Trust Transfers, the Property, the Rental Income, and the Other Trust Assets are

                                                                                         20 property of the Estate; (c) that upon avoidance of the Trust Transfers and/or recovery of the

                                                                                         21 property subject to the Trust Transfers, including the Property, the Rental Income, and the Other

                                                                                         22 Trust Assets, are property of the Estate; (d) that the Property, the Rental Income, and the Other

                                                                                         23 Trust Assets should be treated in ownership, status, and character as if none of the Trust Transfers

                                                                                         24 occurred (e) that, by virtue of the Debtor’s unrestricted control over the Trust, and ability to use

                                                                                         25 the Trust assets for his sole benefit, the Property, the Rental Income, and the Other Trust Assets,

                                                                                         26 are property of the Estate, as that term is defined in section 541 of the Bankruptcy Code; and/or

                                                                                         27 (f) that the spendthrift provisions in the Trust Agreement, restricting the Debtor’s beneficial

                                                                                         28 interest in the Trust, are invalid and unenforceable against transferees or creditors of the Debtor,


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                                                                                          1 which includes Plaintiff pursuant to section 544 of the Bankruptcy Code.

                                                                                          2            ON THE SEVENTH CLAIM FOR RELIEF:
                                                                                          3            7.      For the accounting described in the seventh claim for relief herein.

                                                                                          4            ON ALL CLAIMS FOR RELIEF:
                                                                                          5            8.      For costs of suit incurred herein, including, without limitation, attorney’s fees; and

                                                                                          6            9.      For such other and further relief as is proper.

                                                                                          7

                                                                                          8 Dated: July 27, 2016                           SulmeyerKupetz
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                                                                                         11                                                By: /s/ Jessica L. Vogel
                                                  LOS ANGELES, CALIFORNIA 90071-1406
                                                   TEL 213.626.2311 • FAX 213.629.4520




                                                                                                                                               Asa S. Hami
                                                                                         12                                                    Jessica L. Vogel
                                                                                                                                               [Proposed] Attorneys for Plaintiff
                                                                                         13                                                    Elissa D. Miller, Chapter 7 Trustee
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  B1040 (FORM 1040) (12/15)

         ADVERSARY PROCEEDING COVER SHEET                                                      ADVERSARY PROCEEDING NUMBER
                                                                                               (Court Use Only)
                 (Instructions on Reverse)
PLAINTIFFS                                                                       DEFENDANTS
ELISSA D. MILLER, Chapter 7 Trustee                                              LONNIE TODD MOORE, individually and in various
                                                                                 capacities in connection with the 914 Trust dated March 26,
                                                                                 2008; COOK ISLANDS TRUST LIMITED, a foreign
                                                                                 corporation domiciled in Cook Islands, as trustee of the 914
                                                                                 Trust Dated March 26, 2008; ANTONY WILL, as trustee of the
                                                                                 Cook Islands Trust Limited
ATTORNEYS (Firm Name, Address, and Telephone No.)                                ATTORNEYS (If Known)
Asa S. Hami (CA Bar No. 210728)
  ahami@sulmeyerlaw.com
Jessica L. Vogel (CA Bar No. 285328)
  jvogel@sulmeyerlaw.com
SulmeyerKupetz, A Professional Corporation
333 South Hope Street, Thirty-Fifth Floor
Los Angeles, California 90071-1406
Telephone: 213.626.2311 /Facsimile: 213.629.4520
PARTY (Check One Box Only)                                                       PARTY (Check One Box Only)
   Debtor                U.S. Trustee/Bankruptcy Admin                              Debtor                  U.S. Trustee/Bankruptcy Admin
   Creditor              Other                                                      Creditor                Other
   Trustee                                                                          Trustee
CAUSE OF ACTION (WRITE A BRIEF STATEMENT OF CAUSE OF ACTION, INCLUDING ALL U.S. STATUTES INVOLVED)
AVOIDANCE OF FRAUDULENT TRANSFERS (11U.S.C. § 548(e)); RECOVERY OF TRANSFERRED PROPERTY OR
VALUE THEREOF (11 US.C. § 550); PRESERVATION OF AVOIDED TRANSFERS (11 U.S.C. § 551); TURNOVER OF
PROPERTY (11 U.S.C. § 542); DECLARATORY RELIEF; ACCOUNTING
                                                                      NATURE OF SUIT
        (Number up to five (5) boxes starting with lead cause of action as 1, first alternative cause as 2, second alternative cause as 3, etc.)
    FRBP 70 01( 1) – Recovery of Money/Property                                  FRBP 70 01(6) – Dischargeability (continued)
   11-Recovery of money/propert y - §542 turnover of property                       61 -Dischargeability- §523(a)(5 ), domestic support
   12-Recovery of money/property - §547 preference                                   68-Dischargeability - §523(a)(6), willful and malicious injury
   13-Recovery of money/property - §548 fraudulent transfer                          63-Dischargeability - §523(a)(8), student loan
   14-Recovery of money/property - other                                             64-Dischargeability - §523(a)(15), divorce or separation obligation
                                                                                       (other than domestic support)
   FRBP 70 01 (2) – Validity, Priority or Extent of Lien                             6 5 -Dischargeability - other
   21-Validity, priority or extent of lien or other interest in property
                                                                                 FRBP 70 01(7) – Injunctive Relief
   FRBP 7001( 3) – Approval of Sale of Property                                     71 -Injunctive relief- imposition of stay
   31-Approval of sale of property of estate and of a co-owner - §363(h)            72-Injunctive relief - other

    FRBP 7001(4 ) – Objection/ Revocation of Discharge                           FRBP 70 01(8) Subordination of Claim or Interest
   41-Objection/re vocation of discharge - §727(c),(d),(e)                          81 -Subordination of claim or interest

   FRBP 7001(5) – Revocation of Confirmation                                     FRBP 70 01(9) Declaratory Judgment
   51-Revocation of confirmation                                                    91 -Declaratory judgment

   FRBP 7001(6) – Dischargeability                                               FRBP 70 01(10) Deter mi nation of Remove d Act ion
   6 6 -Dischargeability - §523(a)(1),(14),(14A) priority tax claims                01 -Determination of removed claim or cause
   62-Dischargeability - §523(a)(2), false pretenses, false representation,
        actual fraud                                                             Other
   67-Dischargeability - §523(a)(4), fraud as fiduciary, embezzlement, larceny      SS-SIPA Case - 15 U.S.C. §§78aaa et.seq.
                                                                                    02-Other (e.g. other actions that would have been brought in state court
                      (continued next column)                                          if unrelated to bankruptcy case)
   Check if this case involves a substantive issue of state law                     Check if this is asserted to be a class action under FRCP 23
   Check if a jury trial is demanded in complaint                                   Demand $ 2,650,000.00
Other Relief Sought
Accounting
                                                                                                                                    American LegalNet, Inc.
                                                                                                                                    www.FormsWorkFlow.com
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  B1040 (FORM 1040) (12/15)

              BANKRUPTCY CASE IN WHICH THIS ADVERSARY PROCEEDING ARISES
NAME OF DEBTOR                               BANKRUPTCY CASE NO.
LONNIE TODD MOORE                            2:16-bk-12889-SK
DISTRICT IN WHICH CASE IS PENDING                                      DIVISION OFFICE                    NAME OF JUDGE
CENTRAL                                                                LOS ANGELES                        SANDRA R. KLEIN
                                RELATED ADVERSARY PROCEEDING (IF ANY)
PLAINTIFF                                DEFENDANT                                                        ADVERSARY
ELISSA D. MILLER, Chapter 7 Trustee      LONNIE TODD MOORE                                                PROCEEDING NO.
                                                                                                          2:16-ap-01324-SK
DISTRICT IN WHICH ADVERSARY IS PENDING                                 DIVISION OFFICE                    NAME OF JUDGE
CENTRAL                                                                LOS ANGELES                        SANDRA R. KLEIN
SIGNATURE OF ATTORNEY (OR PLAINTIFF)


SulmeyerKupetz, A Professional Corporation
/s/ Jessica L. Vogel

DATE                                                                   PRINT NAME OF ATTORNEY (OR PLAINTIFF)
July 27, 2016                                                          Jessica L. Vogel




                                                          INSTRUCTIONS

           The filing of a bankruptcy case creates an “estate” under the jurisdiction of the bankruptcy court which consists of
 all of the property of the debtor, wherever that property is located. Because the bankruptcy estate is so extensive and the
 jurisdiction of the court so broad, there may be lawsuits over the property or property rights of the estate. There also may be
 lawsuits concerning the debtor’s discharge. If such a lawsuit is filed in a bankruptcy court, it is called an adversary
 proceeding.

          A party filing an adversary proceeding must also must complete and file Form 1040, the Adversary Proceeding
 Cover Sheet, unless the party files the adversary proceeding electronically through the court’s Case Management/Electronic
 Case Filing system (CM/ECF). (CM/ECF captures the information on Form 1040 as part of the filing process.) When
 completed, the cover sheet summarizes basic information on the adversary proceeding. The clerk of court needs the
 information to process the adversary proceeding and prepare required statistical reports on court activity.

           The cover sheet and the information contained on it do not replace or supplement the filing and service of pleadings
  or other papers as required by law, the Bankruptcy Rules, or the local rules of court. The cover sheet, which is largely self-
  explanatory, must be completed by the plaintiff’s attorney (or by the plaintiff if the plaintiff is not represented by an
  attorney). A separate cover sheet must be submitted to the clerk for each complaint filed.

  Plaintiffs and Defendants. Give the names of the plaintiffs and defendants exactly as they appear on the complaint.

  Attorneys. Give the names and addresses of the attorneys, if known.

  Party. Check the most appropriate box in the first column for the plaintiffs and the second column for the defendants.

  Demand. Enter the dollar amount being demanded in the complaint.

  Signature. This cover sheet must be signed by the attorney of record in the box on the second page of the form. If the
  plaintiff is represented by a law firm, a member of the firm must sign. If the plaintiff is pro se, that is, not represented by an
  attorney, the plaintiff must sign.




                                                                                                                   American LegalNet, Inc.
                                                                                                                   www.FormsWorkFlow.com
